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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    (Admitted pro hac vice)
    ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11

    LTL MANAGEMENT LLC, 1                                           Case No.: 21-30589 (MBK)

                                Debtor.                             Judge: Michael B. Kaplan


                                MODIFIED LOCAL FORM
         CERTIFICATION OF NO OBJECTION REGARDING MONTHLY FEE STATEMENT
                 OF WOLLMUTH, MAHER & DEUTSCH LLP FOR THE PERIOD OF
         _____________FEBRUARY 1, 2022 THROUGH FEBRUARY 28, 2022______________
                                   DOCUMENT NO. 1789

The court authorized, under D.N.J. LBR 2016-3(a), the Order Establishing Procedures for Interim
Compensation and Reimbursement of Retained Professionals [Dkt. No. 761] and Order Modifying Order
Establishing Procedures for Interim Compensation and Reimbursement of Retained Professionals [Dkt. No.
870], compensation to professionals on a monthly basis. Under the Order Establishing Procedures for
Interim Compensation and Reimbursement of Retained Professionals [Dkt. No. 761], objections to the
Monthly Fee Statement filed on March 18, 2022 were to be filed and served not later than April 1, 2022. I,


1
             The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is
             501 George Street, New Brunswick, New Jersey 08933.
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Paul R. DeFilippo certify that, as of April 4, 2022, I have reviewed the court’s docket in this case and no
answer, objection, or other responsive pleading to the above Monthly Fee Statement has been filed.

Pursuant to D.N.J. LBR 2016-3, payment shall be made to the applicant upon the filing of this Certification.




 Date: April 4, 2022                                      ___/s/ Paul R. DeFilippo______________
                                                           Signature




                                                                                                       rev.8/1/15
